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IN THE UNITED STATES DISTRICT COURT'u
FOR THE WESTERN DISTRICT OF TENNESSF.F‘
EASTERN DIVISION

 

KAREN WRIGHT and
GILE‘( WRIGHT

Plaintiffs,

 

vs. No. 1-04-1313 T/An
WALGREEN CO.

Defendant.

 

JOINTmD-RULE 16(b) SCHEDULING ORDER

 

Pursuant to the Soheduling conference Set by written notice, the following dates are
established as the final dates for:
INITIAL DISCLOSURES (RULE 26(a)(1)): June 10, 2005

JOINING PARTIES FOR PLAINTIFF: July 26, 2005
JOINING PARTIES FOR DEFENDANT: August 26, 2005

AMENDED PLEADINGS FOR PLAINTIFF: July 26, 2005
AMENDED PLEADINGS FOR DEFENDANT: August 26, 2005

COMPLE'I`ING ALL DISCOVERY: November 30, 2005

(a) REQUESTS FOR PRODUCTION, IN'I`ERROGATORIES AND REQUESTS
FOR ADMISSIONS: November 30, 2005

(b) EXPERT DISCLOSURE (Rule 26(2)(2):

(i) Plaintiff’s Expert: September 30, 2005

(ii) Defendant’S Expert: October 31, 2005

(iii) Supplernentation under Rule 26(e): November 10, 2005
(c) DEPOSITIONS OF EXPERTS: November 30, 2005

FILING DISPOSITIVE MOTIONS: January 17, 2006

Th!s document entered on the docket sheet ln com liance
with nunc ss and.'or]s (a) FncP on ill§_l_@__ \/3\

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FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(c) For Plaintiff: March 1, 2006
(d) For Defendant: March 1, 2006

The parties shall have ten (10) days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last three (3) days and is set for Jury Trial on April 17,
2006 at 9:30 a.m. A joint pretrial order is due on March 31, 2006. In the event the parties are
unable to agree on a joint pretrial order, the parties must notify the Court at least ten (10) days before
trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted to
the opposing part6y in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery.
Additionally, each party will be pemiitted to seek 35 lnterrogatories. Each party will also be
permitted to seek Twenty (20) depositions

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or service of the response, answer, or objection which is the subject of the
motion if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or any objection to the default, response, or answer
shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and
a Certificate of Consuitation.

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall tile a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a continuance
is agreed to by all parties, or an emergency arises which precludes the matter from proceeding to
trial.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation Lor before the close of di_scoverv.

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This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order will not be modified or extended

 

 

IT IS SO ORDERED.
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S. THOMAS ANDERSON
United States Magistrate Judge
Date: W¢.;, //,, Zoo.\’

APPROVED FOR ENTRY:

SPRAGIN , B & UTLER, PLC

  

By:

 

Llswls L. edna #005369

CLINTON H. SCOTT #23008

Attomey for Plaintiffs

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Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 1:04-CV-013l3 was distributed by faX, mail, or direct printing on
May l2, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

